     Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 1 of 39




                             SUMMARY OF EXPRESS TERMS

       This regulation will amend Subpart 66-1 (School Immunization Requirements) to

conform to recent amendments to Sections 2164 and 2168 of the Public Health Law (PHL). In

addition, these amendments make the regulations consistent with national immunization

recommendations and guidelines. The regulations also define the phrase “may be detrimental to

the child’s health” for purposes of medical exemptions to vaccination requirements. The

regulations will be effective upon publication of a Notice of Adoption in the New York State

Register.



       Technical amendments throughout Section 66-1.1 update references to the “Advisory

Committee on Immunization Practices” (ACIP) schedule to its current title, the “Advisory

Committee on Immunization Practices Recommended Child and Adolescent Immunization

Schedule for ages 18 years or younger.” Technical amendments also clarify the grades covered

by the varicella, poliomyelitis and vaccine interval requirements.



       Amendments to subdivision (g) of section 66-1.1 clarify that positive serologic tests for

all three serotypes of poliomyelitis performed prior to September 1, 2019 may be accepted as

evidence of poliomyelitis immunity. However, serologic tests against poliomyelitis performed on

or after September 1, 2019 may not be accepted in place of poliomyelitis vaccination, in

accordance with current ACIP guidance. Similar amendments are made to section 66-1.6 to

incorporate these changes into the certificate of immunization.
     Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 2 of 39




       A new subdivision (k) of section 66-1.1 adds a definition of laboratory confirmation of

measles, mumps, rubella and varicella infections, and amendments to subdivision (g) of that

section expand the definition of immunity to include laboratory confirmation against these

diseases. Laboratory confirmation of immunity means a positive culture or polymerase chain

reaction test against measles, mumps, rubella or varicella, or a positive blood test for

Immunoglobulin M against measles or rubella, where such positive laboratory test is not

otherwise explained by recent vaccination. Amendments to section 66-1.6 add laboratory

confirmation of measles, mumps, rubella and varicella to the certificate of immunization.



       A new subdivision (l) of section 66-1.1 defines “may be detrimental to the child’s health”

to mean that a physician has determined that a child has a medical contraindication or precaution

to a specific immunization consistent with ACIP guidance. Amendments to subparagraph (ii) of

paragraph (4) of subdivision (c) of section 66-1.2 require that the reason why an immunization is

detrimental to a child’s health be documented in the New York State Immunization Information

System. Additionally, amendments to subdivision (c) of section 66-1.3 require the use of medical

exemption forms approved by the New York State Department of Health or New York City

Department of Education; a written statement from a physician is no longer allowed.



       Finally, subdivision (d) of section 66-1.3 is repealed, and amendments to section 66-1.10

remove references to subdivision (d) of section 66-1.3.




                                                  2
      Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 3 of 39




Pursuant to the authority vested in the Commissioner of Health by sections 2164(10) and

2168(13) of the Public Health Law (PHL), sections 66-1.1, 66-1.2, 66-1.3, 66-1.6, and 66-1.10

of Title 10 (Health) of the Official Compilation of Codes, Rules and Regulations of the State of

New York are hereby amended, to be effective upon publication of a Notice of Adoption in the

New York State Register, to read as follows:



Subdivisions (f), (g), (h), (i), and (j) of section 66-1.1 are amended, and new subdivisions (k), (l)

and (m) are added, to read as follows:

(f)    Fully immunized means that an adequate dosage and number of doses of an immunizing

       agent licensed by the United States Food and Drug Administration has been received

       commensurate with the child’s age, or the child has been demonstrated to have immunity

       as defined in this section.

       (1)     For those immunizations required by section 2164 of the Public Health Law only,

               the number of doses that a child shall have at any given age, and the minimum

               intervals between these doses, shall be in accordance with the Advisory

               Committee on Immunization Practices Recommended Child and Adolescent

               Immunization [Schedules] Schedule for [Persons Aged 0 through] ages 18

               [Years] years or younger, issued by the Advisory Committee on Immunization

               Practices (ACIP) as [set forth in Morbidity and Mortality Weekly Reports

               (MMWR) February 5, 2016 Volume 65 (No. 4)] referenced in Chapter 35 of the

               Laws of 2019 and posted on the Centers for Disease Control and Prevention

               website [at http://www.cdc.gov/vaccines/schedules. The department will amend

               this section as necessary to reflect revised ACIP Recommended Immunization


                                                  3
Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 4 of 39




       Schedules]. Any child who completed an immunization series following

       minimum intervals prescribed in an ACIP Recommended Immunization Schedule

       pre-dating February [2016] 2019 shall continue to be deemed in compliance as

       long as the number of vaccine doses the child received conforms to the current

       ACIP Recommended Immunization Schedule. [The Advisory Committee on

       Immunization Practices Recommended Immunization Schedules for Persons

       Aged 0 through 18 Years issued by the ACIP as set forth in the MMWR February

       5, 2016 Volume 65 (No. 4) is hereby incorporated by reference, with the same

       force and effect as if fully set forth at length herein. It is available for public

       inspection and copying at the Regulatory Affairs Unit, New York State

       Department of Health, Corning Tower, Empire State Plaza, Albany, New York

       12237. Copies are also available from the United States Department of Health and

       Human Services, Centers for Disease Control and Prevention (CDC), Atlanta,

       Georgia 30333, and from the CDC website at

       http://www.cdc.gov/vaccines/schedules/.]

       (i)     For all vaccinations, except as provided in subparagraphs (ii) through (vii)

               [below] of this paragraph, children shall be assessed upon school entry or

               attendance, and annually thereafter, and be fully immunized

               commensurate with their age.

       (ii)    Any child who has satisfied the immunization requirements in effect in

               regulation on June 30, 2014, entering [ninth through] twelfth grade (or

               comparable age level grade equivalents) in the [2016-2017] 2019-2020

               school year only, shall be deemed in compliance with the immunization


                                           4
Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 5 of 39




               requirements set forth in this section, including those set forth in

               subparagraphs (iii) through (vi) [below] of this paragraph, until such child

               graduates from school; provided, however, that such child shall comply

               with the meningococcal vaccination requirement set forth in

               subparagraph (vii) [below] of this paragraph.

       (iii)   Any child entering or attending kindergarten through twelfth grade must

               have received the following vaccine doses, with the minimum intervals

               between these doses as established by the Advisory Committee on

               Immunization Practices Recommended Child and Adolescent

               Immunization [Schedules] Schedule for [Persons Aged 0 through] ages 18

               [Years incorporated by reference herein] years or younger:

               (a)    Two adequate doses of measles containing vaccine, two adequate

                      doses of mumps containing vaccine, and at least one adequate dose

                      of rubella containing vaccine; and

               (b)    Five adequate doses of diphtheria and tetanus toxoids and acellular

                      pertussis vaccine. If, however, the fourth dose of diphtheria and

                      tetanus toxoids and acellular pertussis vaccine was given at [forty-

                      eight] 48 months of age or older, only four adequate doses of

                      vaccine are required. The final dose of vaccine must be received

                      no sooner than [forty-eight] 48 months of age. Doses given after

                      age seven should start with one dose of Tdap.

       (iv)    [For poliomyelitis vaccination, beginning on or after July 1, 2014, children

               shall be assessed upon entry or attendance to kindergarten and sixth grade,


                                          5
Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 6 of 39




              and/or their equivalent grades, and must have received four] Four

              adequate doses of poliomyelitis vaccine. If, however, the third adequate

              dose of poliomyelitis vaccine was given at [forty-eight] 48 months of age

              or older, only three adequate doses of vaccine are required. The final dose

              of vaccine must be received no sooner than [forty-eight] 48 months of

              age. [As the students enrolling in kindergarten and sixth grade move up a

              grade level each year, the students enrolling in those higher grades, or

              grade equivalent, must be appropriately immunized against poliomyelitis.]

              Beginning on or after September 1, 2016, children shall be assessed upon

              entry or attendance to child-caring centers, day-care agencies, nursery

              schools and pre-kindergarten programs and must be fully immunized

              against poliomyelitis commensurate with their age.

       (v)    [For varicella vaccination, beginning on and after July 1, 2014, children

              shall be assessed upon entry or attendance to kindergarten and sixth grade,

              and/or their equivalent grades, and must have received two] Two adequate

              doses of varicella vaccine. [As the students enrolling in kindergarten and

              sixth grade move up a grade level each year, the students enrolling in

              those higher grades, or grade equivalent, must be appropriately immunized

              against varicella.]

       (vi)   By entry to sixth grade or a comparable age level grade equivalent, any

              child [eleven] 11 years of age or older must have received one dose of a

              booster immunization containing tetanus and diphtheria toxoids and

              acellular pertussis vaccine.


                                        6
      Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 7 of 39




             (vii)   For meningococcal vaccination, beginning on and after September 1,

                     2016, children shall be assessed upon entry or attendance to seventh grade,

                     or a comparable age level grade equivalent, and must have received one

                     adequate dose of vaccine upon such entry or attendance. Children shall be

                     assessed upon entry or attendance to twelfth grade, or a comparable age

                     level grade, and must have received two adequate doses of meningococcal

                     vaccine upon such entry or attendance. If, however, the first dose of

                     meningococcal vaccine was given at [sixteen] 16 years of age or older,

                     then only one adequate dose of meningococcal vaccine is required for

                     twelfth grade.

       (2)   If a child is not fully immunized, catch-up immunization must then take place

             according to the Advisory Committee on Immunization Practices Recommended

             Child and Adolescent Immunization [Schedules] Schedule for [Persons Aged 0

             through] ages 18 [Years incorporated by reference in this subdivision] years or

             younger.



(g)    Immunity means that:

       (1)   for measles, mumps, and rubella, [hepatitis B, and all three serotypes of

             poliomyelitis found in the polio vaccines,] a child has had a positive serologic

             test, as defined in subdivision (h) of this section [66-1.1(h)], for those diseases, or

             laboratory confirmation of disease, as defined in subdivision (k) of this section;

             [or]




                                                7
      Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 8 of 39




       (2)    for varicella, a child has either had a positive serologic test, as defined in

              subdivision (h) of this section [66-1.1(h),]; laboratory confirmation of disease, as

              defined in subdivision (k) of this section; or had the disease as verified by a

              physician, nurse practitioner, or physician’s assistant statement[.];

       (3)    for hepatitis B, a child has had a positive serologic test, as defined in

              subdivision (h) of this section; or

       (4)    for poliomyelitis, positive serologic tests, as defined in subdivision (h) of this

              section, for all three serotypes of poliomyelitis, performed prior to September 1,

              2019. Serologic tests against poliomyelitis performed on or after September 1,

              2019 will not be accepted in place of poliomyelitis vaccination.



(h)    Serologic test means a positive blood test for Immunoglobulin G (IgG) or for hepatitis B,

       a blood test for hepatitis B surface antibody, as determined by the testing lab’s criteria.

       Serology results reported as equivocal are not acceptable proof of immunity. A positive

       serologic test can be accepted in place of vaccination only for the following diseases:

       measles, mumps, rubella, varicella, hepatitis B and all three serotypes of poliomyelitis

       found in the polio vaccines.



(i)    [Grace period] Age appropriate means that vaccine doses administered within [4] four

       calendar days of the recommended minimum age or interval will be considered valid.



(j)    In process means that:




                                                    8
Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 9 of 39




 (1)   a child has received at least the first dose in each immunization series required by

       section 2164 of the Public Health Law (except in the case of live vaccines in

       which a child should wait 28 days after one live vaccine administration before

       receiving another live vaccine, if the vaccines were not given on the same day)

       and has age appropriate appointments to complete the immunization series

       according to the Advisory Committee on Immunization Practices Recommended

       Child and Adolescent Immunization [Schedules] Schedule for [Persons Aged 0

       through] ages 18 [Years incorporated by reference at subdivision (f) of this

       section] years or younger; or

 (2)   a child [is obtaining serologic tests] has had blood drawn for a serologic test and

       is awaiting test results within [30] 14 days [of notification of the parent/guardian

       that such testing is requested] after the blood draw; or

 (3)   a child’s serologic test(s) are negative, and therefore the child in question has

       appointments to be immunized within 30 days of notification of the

       parent/guardian to complete, or begin completion, of the immunization series

       based on the Advisory Committee on Immunization Practices Recommended

       Child and Adolescent Immunization [Schedules] Schedule for [Persons Aged 0

       through] ages 18 [Years incorporated by reference at subdivision (f) of this

       section] years or younger.

 (4)   Children who are not fully immunized can only continue to attend school if they

       are in the process of completing the immunization series based on the Advisory

       Committee on Immunization Practices Recommended Child and Adolescent

       Immunization [Schedules] Schedule for [Persons Aged 0 through] ages 18 [Years


                                         9
      Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 10 of 39




               incorporated by reference at subdivision (f) of this section] years or younger. If a

               child does not receive subsequent doses of vaccine in an immunization series

               according to the age appropriate ACIP catch-up schedule, including at appropriate

               intervals, the child is no longer in process and must be excluded from school

               within 14 days after the minimum interval identified by the ACIP catch-up

               schedule, if not otherwise exempt in accordance with section 66-1.3 of this

               Subpart.



(k)     Laboratory confirmation of disease means, for measles, mumps, rubella or varicella, a

        positive laboratory test, either culture or polymerase chain reaction, detecting either the

        virus or viral-specific nucleic acid in a clinical specimen from the child or, for measles or

        rubella, a positive blood test for Immunoglobulin M (IgM) where such positive

        laboratory test is not otherwise explained by recent vaccination.



(l)     May be detrimental to the child’s health means that a physician has determined that a

        child has a medical contraindication or precaution to a specific immunization consistent

        with ACIP guidance or other nationally recognized evidence-based standard of care.



(m)     Attend or admit means enrolled in, or admitted to, a school for the purpose of

        participating in or receiving services at such school, including but not limited to special

        education or related services, participating in intra-scholastic or interscholastic sports, or

        other school-sponsored events or activities; or being transported on a school bus or




                                                  10
      Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 11 of 39




        vehicle with other school children; except where such services, transportation, events, or

        activities are open to the general public.



Subparagraph (ii) of paragraph (4) of subdivision (c) of section 66-1.2 is hereby amended to read

as follows:

               (ii)    For individuals exempt from administration of vaccines, providers must

                       submit patient information, including the reason [for the exemption] that

                       such immunization may be detrimental to the child’s health, as defined in

                       subdivision (l) of section 66-1.1 of this Subpart, to the statewide

                       immunization information system within 14 days following the in-person

                       clinical interaction that occurs at or after what would normally have been

                       the due date for administration of an age-appropriate immunization to that

                       child, according to current national immunization recommendations.



Subdivision (c) of section 66-1.3 is hereby amended to read as follows:

(c)     A signed, completed [sample] medical exemption form [issued] approved by the

        NYSDOH or [NYCDOHMH or a signed statement] NYC Department of Education from

        a physician licensed to practice medicine in New York State certifying that immunization

        may be detrimental to the child’s health, containing sufficient information to identify a

        medical contraindication to a specific immunization and specifying the length of time the

        immunization is medically contraindicated. The medical exemption must be reissued

        annually. The principal or person in charge of the school may require additional

        information supporting the exemption.


                                                     11
      Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 12 of 39




Subdivision (d) of section 66-1.3 is repealed.



Section 66-1.6 is hereby amended to read as follows:

The certificate of immunization required in section 66-1.3(a) of this Subpart shall be prepared

and signed by a health practitioner licensed in New York State and shall specify the products

administered and the dates of administration. It may also show physician, nurse practitioner, or

physician assistant-verified history of varicella disease and/or [laboratory evidence of immunity

to] positive serologic tests for measles, mumps, rubella, varicella, and/or Hepatitis B [and all 3

serotypes of poliomyelitis contained in the polio vaccines] and/or laboratory confirmation of

disease for measles, mumps, rubella and/or varicella. Certificates of immunization issued prior to

September 1, 2019 may also show positive serologic tests for all 3 serotypes of poliomyelitis

contained in the polio vaccines. A record issued by NYSIIS, the CIR, an official immunization

registry from another state, an electronic health record, and/or an official record from a foreign

nation may be accepted as a certificate of immunization without a health practitioner’s signature.



Section 66-1.10 is hereby amended to read as follows:

(a)     For those diseases listed in PHL [§] section 2164 only, in the event of an outbreak, as

        defined in section 2.2(d) of this Title, of a vaccine-preventable disease in a school, the

        commissioner, or his or her designee, or in the City of New York, the Commissioner of

        Health of the New York City Department of Health and Mental Hygiene, may order the

        appropriate school officials to exclude from attendance all students who either have been

        exempted from immunization under section 66-1.3(c) [or (d)] of this Subpart, or are in


                                                 12
      Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 13 of 39




        the process of receiving required immunizations pursuant to section 66-1.3(b) of this

        Subpart.

(b)     The exclusion shall continue until the commissioner or his or her designee, or in the City

        of New York, the Commissioner of Health of the New York City Department of Health

        and Mental Hygiene, determines that the danger of transmission has passed.

(c)     Schools must maintain a list of susceptible students who should be excluded from

        attendance in the event of an outbreak of vaccine preventable disease. This list must

        include all students who have been excused from immunization under section 66-1.3(c)

        [or (d)] of this Subpart and students who are in the process of completing immunization

        series or awaiting the results of serologic testing for any vaccine preventable disease

        specified under section 66-1.3(b) of this Subpart. The list shall be updated each time a

        new student enrolls in the school or a student’s immunization status changes.




                                                 13
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 14 of 39




                                 Regulatory Impact Statement



Statutory Authority:

       The Commissioner of Health is authorized pursuant to Section 2164(10) of the Public

Health Law (PHL) to adopt and amend rules and regulations necessary to effectuate the

provisions and purposes of Section 2164 of the PHL. The Commissioner of Health is authorized

pursuant to Section 2168(13) of the PHL to adopt and amend rules and regulations necessary to

effectuate the provisions of Section 2168 of the PHL.



Legislative Objectives:

       The legislative objective of PHL § 2164 includes the protection of the health of residents

of the state by assuring that children are immunized according to current recommendations

before attending day care, pre-kindergarten, or school, to prevent the transmission of vaccine

preventable disease and accompanying morbidity and mortality. The legislative objective of PHL

§ 2168 is to establish a comprehensive database of complete, accurate and secure immunization

records.

       Chapter 35 of the Laws of 2019 amended both PHL §§ 2164 and 2168, repealing the

exemption from vaccination requirements for children whose parents had non-medical objections

to immunizations.



Needs and Benefits:

       There currently exist outbreaks of measles in New York City and in the Counties of

Rockland, Orange, and Westchester, and cases have also been identified in the County of


                                                14
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 15 of 39




Sullivan. Measles is a viral disease transmitted via the airborne route when a person with

measles coughs or sneezes. It is one of the most contagious diseases known. Following exposure

to the virus about 90% of people who are susceptible will develop measles.

        Measles can be a very serious disease. This is especially true for children less than 5

years of age, adults who are over 20 years of age, pregnant women and those who are

immunocompromised. Common complications include ear infection and diarrhea. Severe

complications include pneumonia and encephalitis. About one child out of 1,000 will get

encephalitis, which can result in seizures. Deafness and other complications can occur. For every

1,000 cases of measles, one or two children will die, despite the best medical care. Measles can

also cause premature birth in pregnant women.

        The measles vaccine is very effective and remains the best protection against the disease.

One dose of measles vaccine is about 93% effective at preventing the measles if exposed to the

virus. Two doses are about 97% effective. The measles vaccine is also safe and serious side

effects are rare.

        According to the Centers for Disease Control (CDC), sustaining a high vaccination rate

among school children is vital to the prevention of disease outbreaks, including the

reestablishment of diseases that have been largely eradicated in the United States, such as

measles. According to State data from 2017-2018, there are at least 280 schools in New York

with an immunization rate below 85%, including 211 schools below 70%, far below the CDC’s

goal of at least a 95% vaccination rate to maintain herd immunity.

        Endemic measles transmission had been eliminated in the United States. However,

because some individuals have chosen not to receive the vaccine and to not have their children




                                                 15
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 16 of 39




vaccinated, outbreaks stemming from imported cases have occurred and new cases continue to

occur in multiple counties across New York State.

       In response to the current measles outbreak, the Legislature enacted Chapter 35 of the

Laws of 2019, which repealed non-medical exemptions to the vaccination requirements for

admission to day care, pre-kindergarten, or school. By increasing the number of children

immunized against vaccine-preventable diseases like measles, this legislation will prevent

outbreaks and protect both the immunized children and those members of the community who

cannot be vaccinated for medical reasons.

       This regulation conforms existing regulations with the provisions Chapter 35 of the Laws

of 2019, by eliminating any reference to non-medical exemptions to vaccination rules for school

admissions.

       In addition, this regulation clarifies that a child may only receive a medical exemption

from vaccination requirements when there is a medical contraindication or precaution to a

specific immunization consistent with ACIP guidance. The regulation further requires that such

contraindication be documented on forms approved by the Department of Health (Department)

or the New York City Department of Education, and that they be documented in the New York

State Immunization Information System. Although most physicians act in good faith and only

issue medical exemptions for true medical contraindications to vaccination, as demonstrated by

the experience of California, a small number may issue medical exemptions for non-medical

reasons. In 2015, the State of California removed non-medical exemptions to school

immunization requirements without taking steps to strengthen the rules governing medical

exemptions. Over the next three years, the use of medical exemptions to school immunization




                                               16
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 17 of 39




requirements more than tripled. By providing clear, evidence-based guidance to physicians, this

regulation will help prevent medical exemptions being issued for non-medical reasons.

         Finally, this regulation makes several technical amendments to conform with current

guidance from the CDC’s Advisory Committee on Immunization Practices (ACIP), including

clarifying the grades covered by varicella, poliomyelitis and vaccine interval requirements;

removing poliovirus from the list of diseases for which a positive serologic test is acceptable

proof of immunity; and permitting laboratory confirmation of immunity to measles, mumps,

rubella and varicella infections.



Costs:

Costs to the Regulated Entity:

         Chapter 35 of the Laws of 2019 eliminates non-medical exemptions to school vaccination

requirements. This created additional administrative work for the schools and day care

businesses that are regulated under PHL § 2164. This regulation implements the law but does not

impose any additional costs. Regulated entities that were already in compliance with the law will

not have significant additional costs.



Costs to Local Government:

         This regulation will affect schools, many of which are operated by local governments.

The costs are as described above.




                                                17
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 18 of 39




Costs to the Department of Health:

       The Department intends to implement Chapter 35 of the Laws of 2019 and this regulation

within existing appropriations.



Local Government Mandates:

       Schools must already comply with Chapter 35 of the Laws of 2019.



Paperwork:

       Children who previously had non-medical exemptions to school vaccination requirements

will now have to provide regulated entities with evidence of immunity or a medical exemption.

Regulated entities will need to maintain new paperwork for students who previously had

religious exemptions.



Duplication:

       These amendments do not duplicate, overlap or conflict with any Federal and State laws.



Alternatives:

       An alternative would be not to amend the regulation to align with the Public Health Law

as enacted by the Legislature. This alternative was rejected as unacceptable and inconsistent with

the Department’s duty to execute and implement the laws of New York State.




                                                18
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 19 of 39




Federal Standards:

       The Centers for Disease Control and Prevention maintains immunization schedules and

guidelines for when immunization may be detrimental to a child’s health because a child has a

medical contraindication or precaution to a specific immunization.



Compliance Schedule:

       There is no compliance schedule imposed by these amendments, which shall be effective

upon publication of a Notice of Adoption in the New York State Register.



Contact Person:       Katherine Ceroalo
                      New York State Department of Health
                      Bureau of Program Counsel, Regulatory Affairs Unit
                      Corning Tower Building, Rm 2438
                      Empire State Plaza
                      Albany, New York 12237
                      (518) 473-7488
                      (518) 473-2019 (FAX)
                      REGSQNA@health.ny.gov




                                               19
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 20 of 39




       Regulatory Flexibility Analysis for Small Businesses and Local Governments


Effect of Rule:

       This regulation will apply to private schools, including parochial schools, and day care,

some of which may be small businesses, as well as public schools operated by local

governments. These regulated entities will be required to change their policies and procedures

for school attendance to comply with PHL § 2164 and these regulations.

       This regulation will also apply to physicians who may also be considered small

businesses. In order to reduce the risk of medical exemptions being issued for non-medical

reasons, physicians will be required to document the reason for granting medical exemptions in

the New York State Immunization Information Systems (NYSIIS) and use medical exemption

forms approved by the Department or the New York City Department of Education.



Compliance Requirements:

       All day care, pre-kindergarten, private and public schools must already comply with the

requirements of Chapter 35 of the Laws of 2019. All physicians providing medical exemptions

must comply with the requirement to document such exemptions as described above.



Professional Services:

       There are no additional professional services required as a result of this regulation.



Compliance Costs:

       Chapter 35 of the Laws of 2019 eliminated the non-medical exemption to school

vaccination requirements. This created additional administrative work for the schools and day

                                                20
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 21 of 39




care businesses that are regulated under PHL § 2164. This regulation implements the law but

does not impose any additional costs. Regulated entities that were already in compliance with the

law will not have significant additional costs. Physicians will not incur any additional costs.



Economic and Technological Feasibility:

       This proposal is economically and technically feasible, as it does not require any special

technology and does not impose an unreasonable financial burden on private schools, day care

centers, public schools, or physicians.



Minimizing Adverse Impact:

        The Department will work with regulated entities to ensure that they are aware of the

requirements and have the information necessary to comply.



Small Business and Local Government Participation:

       Small business, local government, and the public are invited to comment during the

Codes and Regulations Committee meeting of the Public Health and Health Planning Council.



Cure Period:

        Chapter 524 of the Laws of 2011 requires agencies to include a “cure period” or other

opportunity for ameliorative action to prevent the imposition of penalties on a party subject to

enforcement when developing a regulation or explain in the Regulatory Flexibility Analysis why

one is not included. As this proposed regulation does not create a new penalty or sanction, no

cure period is necessary.


                                                 21
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 22 of 39




                         RURAL AREA FLEXIBILITY ANALYSIS

Types and Estimated Numbers of Rural Areas:

       This rule applies uniformly throughout the state, including in rural areas. Rural areas are

defined as counties with a population less than 200,000 and counties with a population of

200,000 or greater that have towns with population densities of 150 persons or fewer per square

mile. The following 43 counties have a population of less than 200,000 based upon the United

States Census estimated county populations for 2010 (http://quickfacts.census.gov).

       Allegany County             Greene County             Schoharie County
       Cattaraugus County          Hamilton County           Schuyler County
       Cayuga County               Herkimer County           Seneca County
       Chautauqua County           Jefferson County          St. Lawrence County
       Chemung County              Lewis County              Steuben County
       Chenango County             Livingston County         Sullivan County
       Clinton County              Madison County            Tioga County
       Columbia County             Montgomery County         Tompkins County
       Cortland County             Ontario County            Ulster County
       Delaware County             Orleans County            Warren County
       Essex County                Oswego County             Washington County
       Franklin County             Otsego County             Wayne County
       Fulton County               Putnam County             Wyoming County
       Genesee County              Rensselaer County         Yates County
                                   Schenectady County


The following counties have a population of 200,000 or greater and towns with population

densities of 150 persons or fewer per square mile. Data is based upon the United States Census

estimated county populations for 2010.


           Albany County             Monroe County              Orange County
           Broome County             Niagara County             Saratoga County
           Dutchess County           Oneida County              Suffolk County
           Erie County               Onondaga County




                                                22
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 23 of 39




         This regulation will apply all day care, pre-kindergarten, and private and public schools,

including parochial schools, as well as all physicians, throughout New York, including in rural

areas.



Reporting, Recordkeeping and Other Compliance Requirements; and Professional
Services:

         This regulation will apply to public schools and private schools, including parochial

schools, and day care in rural areas. These regulated entities will be required to change their

policies and procedures for school attendance to comply with PHL § 2164 and these regulations.

         This regulation will also apply to physicians in rural areas. In order to reduce the risk of

medical exemptions being issued for non-medical reasons, physicians will be required to

document the reason for granting medical exemptions in the New York State Immunization

Information Systems (NYSIIS) and use medical exemption forms issued by the Department or

the New York City Department of Education.

         There are no additional professional services required as a result of this regulation.



Costs:

         Chapter 35 of the Laws of 2019 eliminated the non-medical exemption to school

vaccination requirements. This created additional administrative work for the schools and day

care businesses that are regulated under PHL § 2164. This regulation implements the law but

does not impose any additional costs. Regulated entities that were already in compliance with the

law will not have significant additional costs. Physicians will not incur any additional costs.



Minimizing Adverse Impact:

                                                  23
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 24 of 39




       The Department will work with regulated entities in rural areas to ensure that they are

aware of the requirements and have the information necessary to comply.



Rural Area Participation:

       Small business, local government, and the public are invited to comment during the

Codes and Regulations Committee meeting of the Public Health and Health Planning Council.




                                               24
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 25 of 39




                                JOB IMPACT STATEMENT



       No Job Impact Statement is required pursuant to Section 201-a(2)(a) of the State

Administrative Procedure Act (SAPA). It is apparent, from the nature of the proposed

amendment, that it will have no impact on jobs and employment opportunities.




                                              25
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 26 of 39




                  SUMMARY OF ASSESSMENT OF PUBLIC COMMENT



The New York State Department of Health (Department) received comments from healthcare

professional organizations, healthcare providers, schools and the general public regarding the

proposed amendments to Subpart 66-1 of Title 10 of the New York Codes, Rules and

Regulations, relating to school immunization requirements.



The NYS American Academy of Pediatrics, the NYS Academy of Family Physicians, the NYS

Association of County Health Officials, the American Nurses’ Association, the Medical Society

of the State of New York, the NYS Society of Dermatology and Dermatologic Surgery, and

private individuals all expressed support of the regulations.



Additional comments and the Department’s responses are summarized below.



Comment: Under section 66-1.1(j)(2) in the proposed regulation, a child is in process when “a

child is obtaining serologic tests within 14 days of notification of the parent/guardian that such

testing is requested.” Some commenters suggested that this language is unclear.

Response: The Department made a technical amendment to the final rule, in section 66-1.1(j)(2),

to clarify that a child is “in process” if the “child has had blood drawn for a serologic test and is

awaiting test results within 14 days after the blood draw.”




                                                  26
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 27 of 39




Comment: Under section 66-1.1(j)(4) in the proposed regulation, a child is no longer “in

process” and must be excluded from school “within 14 days of the missed dose” unless

otherwise exempt. Some commenters stated that this language is unclear.

Response: The Department made a technical amendment to the final rule, in section 66-1.1(j)(4),

to clarify that a child is no longer in process and must be excluded from school “within 14 days

after the minimum interval identified by the ACIP catch-up schedule.”



Comment: Some commenters argued that the repeal of non-medical exemptions to school

immunization requirements infringes students’ and their parents’ rights to religious liberty.

Response: Non-medical exemptions to the requirements of Public Health Law (PHL) § 2164

were repealed by the enactment of Chapter 35 of the Laws of 2019. The Department respectfully

disagrees that Chapter 35 of the Laws of 2019 unconstitutionally infringes religious freedom

under either the United States or the New York State Constitution.



Comment: Commenters stated that the repeal of non-medical exemptions is causing financial

and emotional distress.

Response: Families experiencing distress related to homeschooling may enroll their children in

school provided that their children comply with PHL § 2164 and other requirements established

by the New York State Education Department and any relevant school board or individual

school policies.



Comment: Some commenters argue that the Department is incorrectly interpreting the ACIP

schedule.


                                                27
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 28 of 39




Response: The federal Centers for Disease Control and Prevention (CDC) has issued guidance

stating that “[a]s a general rule, infants or children who are more than 1 month or 1 dose behind

schedule should be on an accelerated schedule, which means the intervals between doses should

be reduced to the minimum allowable.”



Comment: Some commenters stated that the amended requirements for medical exemptions are

too strict.

Response: The definition of “[m]ay be detrimental to the child’s health” includes medical

contraindications or precautions to a specific immunization consistent with ACIP guidance or

other nationally recognized evidence-based standard of care. The regulations do not remove a

physician’s ability to issue a medical exemption.



Comment: Some commenters asked that the Department provide additional time for children to

be vaccinated before enforcing school immunization requirements.

Response: Non-medical exemptions to the requirements of PHL § 2164 were repealed by the

enactment of Chapter 35 of the Laws of 2019, which went into effect immediately upon

enactment of the law.



Comment: Some commenters argued that only religious exemptions to measles-containing

vaccines should be repealed.

Response: The repeal of non-medical exemptions to the requirements of PHL § 2164, enacted in

Chapter 35 of the Laws of 2019 applies to all school immunization requirements, not only

measles immunizations.


                                                28
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 29 of 39




Comment: Some commenters stated that unvaccinated children do not pose a risk to the public

health and that the Department has not sufficiently documented vaccine preventable disease

transmission from unvaccinated individuals to other people.

Response: An analysis of confirmed cases of measles in New York State outside of New York

City found that 80% of confirmed cases occurred in children less than 18 years of age, and that

92% of the children with confirmed measles had no or unknown MMR vaccine status.



Comment: Several commenters questioned the safety of vaccines.

Response: The United States’ long-standing vaccine safety system ensures vaccines are as safe

as possible and that national vaccine recommendations are modified as appropriate when new

vaccine effectiveness or safety data becomes available. The CDC, American Academy of

Pediatrics, American Association of Family Physicians, American College of Physicians and

other reliable healthcare and public health associations all agree that vaccines are a safe,

effective and important preventive measure.



Comment: Some commenters questioned why children are required to be immune to types 2 or 3

poliovirus.

Response: The CDC and ACIP continue to recommend that children be immune to all three

types of poliomyelitis.



Comment: One commenter noted that PHL § 2168 does not require reporting of the reasons for

medical exemptions in the New York State Immunization Information System (NYSIIS).


                                                 29
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 30 of 39




Response: Regulations in place prior to the emergency adoption of these regulations in August

2019, already required that “[f]or individuals exempt from administration of vaccines, providers

must submit patient information, including the reason for the exemption,” to NYSIIS.



Comment: Some commenters noted that the regulations only require immunizations for students

but not for teachers, staff and visitors to schools nor for students aged eighteen years or older.

Response: PHL § 2164 only requires immunizations for children between the ages of two

months and eighteen years entering or attending public, private or parochial child caring center,

day nursery, day care agency, nursery school, kindergarten, elementary, intermediate or

secondary school.




                                                 30
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 31 of 39




                          ASSESSMENT OF PUBLIC COMMENT



The New York State Department of Health (Department) received comments from healthcare

professional organizations, healthcare providers, schools and the general public regarding the

proposed amendments to Subpart 66-1 of Title 10 of the New York Codes, Rules and

Regulations, relating to school immunization requirements.



Comments from the NYS American Academy of Pediatrics, the NYS Academy of Family

Physicians, the NYS Association of County Health Officials, the American Nurses’ Association,

the Medical Society of the State of New York, the NYS Society of Dermatology and

Dermatologic Surgery, and private individuals, expressed support of the regulations. These

comments in support are noted by the Department.



Additional comments and the Department’s responses are summarized below.



Comment: Under section 66-1.1(j)(2) in the proposed regulation, a child is in process when “a

child is obtaining serologic tests within 14 days of notification of the parent/guardian that such

testing is requested.” Some commenters suggested that it is unclear who may request the test or

what timing would apply when the parent or guardian requests serologic testing without prior

notification.

Response: The Department appreciates this feedback and has taken steps to provide further

clarification. Specifically, the Department issued a “Frequently Asked Questions” document on

October 4, 2019, located at


                                                 31
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 32 of 39




https://www.health.ny.gov/prevention/immunization/schools/school_vaccines/docs/2019-

10_vaccination_requirements_faq.pdf, which specifies that “[a] child who is obtaining serologic

tests is in process within 14 days of when such testing is requested. The school may permit the

child to attend school so long as the child receives a positive serologic test (for measles, mumps,

rubella, varicella, or hepatitis B), or laboratory confirmation of disease (for measles, mumps,

rubella, or varicella) within 14 days.” The Department made a technical amendment to the final

rule, in section 66-1.1(j)(2), to clarify that a child is “in process” if the “child has had blood

drawn for a serologic test and is awaiting test results within 14 days after the blood draw.”



Comment: Under section 66-1.1(j)(4) in the proposed regulation, a child is no longer “in

process” and must be excluded from school “within 14 days of the missed dose” unless

otherwise exempt. Some commenters stated that the proposed regulation is unclear as to when a

dose has been “missed” and whether the exclusion must occur within 14 days before or after the

missed dose.

Response: The Department appreciates this feedback and has taken steps to provide further

clarification. The Department issued a “Frequently Asked Questions” document on October 4,

2019, located at

https://www.health.ny.gov/prevention/immunization/schools/school_vaccines/docs/2019-

10_vaccination_requirements_faq.pdf, which specifies that exclusion of students no longer “in

process” and without a medical exemption should occur within 14 days after the minimum

interval identified by the Advisory Committee on Immunization Practices (ACIP) catch-up

schedule.




                                                  32
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 33 of 39




The Department made a technical amendment to the final rule, in section 66-1.1(j)(4), to clarify

that a child is no longer in process and must be excluded from school “within 14 days after the

minimum interval identified by the ACIP catch-up schedule.” For example, if the minimum

interval between the first dose and the second dose is 28 days, and the child received the first

dose but has not received the second dose within 42 days after the first dose, then the child must

be excluded, if not otherwise exempt in accordance with section 66-1.3.



Comment: Some commenters argued that the repeal of non-medical exemptions to school

immunization requirements infringes students’ and their parents’ rights to religious liberty.

Response: Non-medical exemptions to the requirements of Public Health Law (PHL) § 2164

were repealed by the enactment of Chapter 35 of the Laws of 2019. The Department respectfully

disagrees that Chapter 35 of the Laws of 2019 unconstitutionally infringes religious freedom

under either the United States or the New York State Constitution. No changes were made to the

regulation in response to this comment.



Comment: Commenters stated that the repeal of non-medical exemptions is causing financial

and emotional distress due to homeschooling or school exclusion of children who are neither

completely vaccinated nor have a medical exemption to vaccination requirements.

Response: As established in PHL § 2164, children must be fully immunized with all doses in

required vaccine series, in process of completing the vaccine series, or have a medical exemption

to required vaccines in order to attend public, private or parochial schools in New York State.

Families experiencing distress related to homeschooling may enroll their children in school

provided that their children comply with PHL § 2164 and other requirements established by the


                                                33
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 34 of 39




New York State Education Department and any relevant school board or individual school

policies. No changes were made to the regulation in response to this comment.



Comment: Some commenters argue that the Department is incorrectly interpreting the ACIP

schedule by requiring students with incomplete vaccine series to complete the series in

accordance with the minimum intervals established by the ACIP, as the ACIP schedule does not

require next doses in the series to be given immediately after the minimum interval elapses.

Response: PHL § 2164 requires that students who are not fully immunized with all doses in

required vaccine schedules nor have medical exemptions to vaccines must have “age appropriate

appointments scheduled to complete the immunization series according to the Advisory

Committee on Immunization Practices Recommended Immunization Schedules for Persons

Aged 0 through 18 Years.” The 2019 ACIP Recommended Child and Adolescent Immunization

Schedule states that the minimum intervals indicated on Table 2 (Catch-up immunization

schedule) comprise the recommended intervals for persons aged 4 months – 18 years who have

started the vaccine series late or who are more than 1 month behind. The federal Centers for

Disease Control and Prevention (CDC) has also issued guidance stating that “[a]s a general rule,

infants or children who are more than 1 month or 1 dose behind schedule should be on an

accelerated schedule, which means the intervals between doses should be reduced to the

minimum allowable. Catch-up schedules for children ages 4 months through 18 years are

included with each year’s recommended immunization schedule that is issued by ACIP, AAP,

and American Academy of Family Physicians (AAFP).” No changes were made to the

regulation in response to this comment.




                                               34
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 35 of 39




Comment: Some commenters stated that the amended requirements for medical exemptions are

too strict and only allow a very limited number of conditions. Medical exemptions should be at

the discretion of the child’s physician.

Response: Medical exemptions to school immunization requirements should only be issued for

valid medical reasons. As such, the Department defined “[m]ay be detrimental to the child’s

health” in the regulations and required that medical exemptions must be issued on a form

approved by the Department or the NYC Department of Education. The definition of “[m]ay be

detrimental to the child’s health” includes medical contraindications or precautions to a specific

immunization consistent with ACIP guidance or other nationally recognized evidence-based

standard of care. Medical exemptions must be issued by a physician licensed to practice

medicine in New York State in accordance with requirements established in PHL § 2164. The

regulations do not remove a physician’s ability to issue a medical exemption, but they provide

additional clarity to existing requirements regarding which type of medical exemptions schools

may accept. No changes were made to the regulation in response to this comment.



Comment: Some commenters asked that the Department provide additional time for children to

be vaccinated before enforcing school immunization requirements.

Response: Non-medical exemptions to the requirements of PHL § 2164 were repealed by the

enactment of Chapter 35 of the Laws of 2019, which went into effect immediately upon

enactment of the law. As such, the Department is obligated to execute and implement PHL

§ 2164 in accordance with the effective date established in statute. No changes were made to the

regulation in response to this comment.




                                                35
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 36 of 39




Comment: Some commenters argued that only religious exemptions to measles-containing

vaccines should be repealed, while religious exemptions should be allowed to continue for all

other vaccines.

Response: The repeal of non-medical exemptions to the requirements of PHL § 2164, enacted in

Chapter 35 of the Laws of 2019 applies to all school immunization requirements, not only

measles immunizations. The Department is obligated to implement and execute the law as

enacted. Furthermore, other vaccine preventable diseases have the potential to cause outbreaks.

School immunizations protect the public against outbreaks of diseases such as, but not limited

to, meningococcal disease, mumps, and pertussis, not only measles. No changes were made to

the regulation in response to this comment.



Comment: Some commenters stated that unvaccinated children do not pose a risk to the public

health and that the Department has not sufficiently documented vaccine preventable disease

transmission from unvaccinated individuals to other people.

Response: In October 2018 alone, the Department and Rockland County Department of Health

documented transmission of measles from seven unvaccinated individuals to at least thirty-two

other known persons. This rapid and widespread transmission of measles in an unvaccinated

community resulted in the largest and longest outbreak of measles in the United States since

2000. From October 2018 to September 2019, 1,056 confirmed cases of measles were reported

in New York State, including 407 cases in New York State outside of New York City. An

analysis of confirmed cases of measles in New York State outside of New York City found that

80% of confirmed cases occurred in children less than 18 years of age, and that 92% of the


                                               36
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 37 of 39




children with confirmed measles had no or unknown MMR vaccine status. No changes were

made to the regulation in response to this comment.



Comment: Several commenters questioned the safety of vaccines.

Response: The United States’ long-standing vaccine safety system ensures vaccines are as safe

as possible and that national vaccine recommendations are modified as appropriate when new

vaccine effectiveness or safety data becomes available. The CDC, American Academy of

Pediatrics, American Association of Family Physicians, American College of Physicians and

other reliable healthcare and public health associations all agree that vaccines are a safe,

effective and important preventive measure. In addition, PHL § 2164 and these regulations

authorize medical exemptions to school immunization requirements in those case where

immunization may be detrimental to a child’s health. No changes were made to the regulation in

response to this comment.



Comment: Some commenters questioned why children are required to be immune to types 2 or 3

poliovirus, even though type 2 poliovirus was declared eradicated by the World Health

Organization (WHO) in 2015 and type 3 was declared eradicated by the WHO in October 2019.

Response: On January 13, 2017, the CDC published updated guidance for assessment of

poliovirus vaccination status and vaccination of children who have received poliovirus vaccine

outside the United States. Although wild poliovirus type 2 (WPV2) was declared eradicated in

September 2015, type 2 vaccine-derived polioviruses continued to be detected in several

countries of the world even after WPV2 was declared eradicated. As such, the CDC and ACIP

continued to recommend that children be immune to all three types of poliomyelitis, and that


                                                 37
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 38 of 39




children with evidence of immunity to only 1 or 2 strains receive a complete poliomyelitis

vaccine series against all 3 strains. In the same guidance document, the CDC stated that

“serologic testing is no longer recommended to assess immunity.” As such, the acceptable

evidence of immunity to poliomyelitis for children entering or attending schools was amended to

no longer allow serologic tests to assess immunity to poliomyelitis performed on or after

September 1, 2019 to be accepted in place of poliomyelitis vaccination. Serologic tests

performed prior to September 1, 2019 may continue to be accepted only if they are positive for

all three serotypes of poliomyelitis. This change was made to reflect current CDC and ACIP

recommendations. Although wild poliovirus type 3 was declared eradicated in October 2019, the

ACIP has not issued any changes to its recommendation that U.S. children be immune to all

three types. No changes were made to the regulation in response to this comment.



Comment: One commenter noted that PHL § 2168 does not require reporting of the reasons for

medical exemptions in the New York State Immunization Information System (NYSIIS).

Therefore, this commenter asked that subparagraph (ii) of paragraph (4) of subdivision (c) of

section 66-1.2 be revised to only require that NYSIIS shows that the child has a medical

exemption.

Response: Regulations in place prior to the emergency adoption of these regulations in August

2019, already required that “[f]or individuals exempt from administration of vaccines, providers

must submit patient information, including the reason for the exemption,” to NYSIIS. These

regulations did not introduce this requirement but simply sought to clarify the definition of

medical exemption, consistent with that used in subdivision (l) of section 66-1.1. NYSIIS is a

lifelong immunization record; as such, the reason why an immunization may be detrimental to a


                                                38
    Case 1:20-cv-00840-BKS-CFH Document 61-2 Filed 09/04/20 Page 39 of 39




child’s health is necessary information for the child’s future healthcare providers. No changes

were made to the regulation in response to this comment. However, the Department made a

technical amendment to the final rule, to change an incorrect reference, in subparagraph (ii) of

paragraph (4) of subdivision (c) of section 66-1.2. The words “this section” were changed to

“section 66-1.1 of this Subpart.”



Comment: Some commenters noted that the regulations only require immunizations for students

but not for teachers, staff and visitors to schools nor for students aged eighteen years or older.

These other populations could also introduce vaccine-preventable diseases into schools.

Response: PHL § 2164 only requires immunizations for children between the ages of two

months and eighteen years entering or attending public, private or parochial child caring center,

day nursery, day care agency, nursery school, kindergarten, elementary, intermediate or

secondary school. No changes were made to the regulation in response to this comment.




                                                 39
